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 1
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      ATTO RN EY AT LAW
 2    2014 T U LARE S TREET , S U ITE 414
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 4
      Attorney for Defendant, ROSENDO PINEDA-MAGADAN
 5
                                            UNITED STATES DISTRICT COURT
 6

                                            EASTERN DISTRICT OF CALIFORNIA
 7

 8                                                      )
     UNITED STATES OF AMERICA,                          ) CASE NO. 1:10-CR-00416 LJO
 9                                                      )
              Plaintiff,                                ) STIPULATION AND ORDER TO
                                                        ) CONTINUE SENTENCING HEARING
10   vs.                                                )
                                                        )
                                                          DATE: August 6, 2012
11   ROSENDO PINEDA-MAGADAN,                            )
                                                        ) TIME:  8:30 am
                                                        ) JUDGE: Hon. Lawrence J. O’Neill
12            Defendant.
                                                        )
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14            IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the

15   defendant by and through his respective attorney, to continue the sentencing hearing from Monday, August

16   6, 2012, at 8:30 a.m. to AUGUST 27, 2012, at 8:30 a.m.

17            This continuance is necessary so that both parties have sufficient time to allow for the preparation

18   of safety valve requirements which are relevant to the sentencing and for both parties to have additional time

19   to prepare for the hearing.

20            Assistant United States Attorney Kathleen Servatius has no objection to this requested continuance.

21   The requested continuance will conserve time and resources for both counsel and the court.

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           The parties respective also agree that any delay resulting from this continuance shall be excluded in

 1   the interest of justice to 18 U.S.C. sections 3161(h)(1)(F), 3161(h)(8)(A) and 3161 (h)(8)(B)(1).

 2   DATED: July 31, 2012

 3                                                   Respectfully submitted,

 4                                                   /S/ Richard A. Beshwate, Jr.____________
                                                     RICHARD A. BESHWATE, JR.
 5                                                   Attorney for Defendant,
                                                     ROSENDO PINEDA-MAGADAN
 6

 7   DATED: July 31, 2012
                                                     Respectfully submitted,
 8
                                                     /S/ Kathleen Servatius
 9                                                   KATHLEEN SERVATIUS
                                                     Assistant U.S. Attorney
10

11                                                   ORDER

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14
     IT IS SO ORDERED.
15   Dated:   July 31, 2012                                  /s/ Lawrence J. O'Neill
     b9ed48                                              UNITED STATES DISTRICT JUDGE
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